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         EXHIBIT 22
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                                                  COMPANY   PORTFOLIO     ESG SUSTAINABILITY   INVESTORS   HOW TO INVEST?   NEWSROOM   CONTACT      ES   EN




       Company

    Who are we


                We are the first and largest REIT in Mexico. In FUNO we’re focused on generating sustainable value for our investors
                through the operation, acquisition, sale and development of real estate for commercial use.

                The business philosophy of FUNO has its base on an extensive and deep knowledge, as well as in a decision process
                that is focused 100% in real estate. From this, three basic pillars come forward, creating sustainable value through
                time:




                                                         The best product (location, location,               A solid financial structure, with moderate
        The diversification of our portfolio by     location) at a competitive price, which leads                         leverage levels.
         segments, clients and geographies.          us to be the first ones to be leased and the
                                                      last ones to be vacated through the Real
                                                                     Estate Cycle.




                                                     Management board




                                                                  ANDRÉ EL-MANN
                                                                           CEO




                                                                 GONZALO ROBINA
                                                                        Deputy CEO




JAVIER ELIZALDE               IGNACIO                JORGE PIGEON                  ALFONSO ARCEO                     FERNANDO               ALEJANDRO CHICO
                            TORTORIELLO                                                                               ÁLVAREZ
  Treasury VP                                        Capital Markets &               Operations VP                                               Legal Affairs VP
                         Administration & IT       Investor Relationship                                             Finance VP
                                VP                           VP
                      Case 1:24-mc-00016-MKV Document 7-24 Filed 01/10/24 Page 3 of 3
CONTACT                                WHISTLEBLOWING
                                       MECHANISM
                                                                                SPACES FOR RENT                         BECOME A SUPPLIER                        FAQs
                                                                                                                                                                                                          
Jorge Pigeon, VP Investor                                                       800 847 2757                            proveedores@fibrauno.mx                  PRIVACY POLICY
Relations                              800 9100 311

+52 (55) 4170 7070                     f uno@tipsanonimos.com

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                                                                               Anto nio Do vali Jaim e 70, Sam ara, To rre B, Piso 11 Santa Fe, CDMX 01219
“Perso na designada para pro po rcio nar la info rm ació n prevista en lo s artículo 69 , 73, 8 4, 8 4 Bis y en lo s Título s Cuarto y Q uinto de las Dispo sicio nes de Carácter General Aplicables a las Em iso ras de Valo res y a O tro s
                                                                                                   Participantes del Mercado de Valo res.”
